       Case 5:20-cv-06177-BLF Document 16 Filed 12/17/20 Page 1 of 1
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 6   Attorneys for Plaintiff                                              N                               C
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 8                        UNITED STATES DISTRICT COURT
 9                       NORTHERN DISTRICT OF CALIFORNIA

10   SCOTT JOHNSON,                                     Case: 5:20-CV-06177-BLF
11                   Plaintiff,                         Plaintiff’s Notice of Voluntary
                                                        Dismissal With Prejudice
12         v.
13
     LLT TRADING, LLC, a California                     Fed. R. Civ. P. 41(a)(1)(A)(i)
14   Limited Liability Company; and
     Does 1-10,
15
                    Defendant.
16
17         PLEASE TAKE NOTICE that Plaintiff Scott Johnson, hereby
18   voluntarily dismisses the above captioned action with prejudice pursuant to
19   Federal Rule of Civil Procedure 41(a)(1)(A)(i).
20         Defendant LLT Trading, LLC, a California Limited Liability Company,
21   has neither answered Plaintiff’s Complaint, nor filed a motion for summary
22   judgment. Accordingly, this matter may be dismissed without an Order of the
23   Court.
24
25   Dated: December 16, 2020             CENTER FOR DISABILITY ACCESS
26                                        By:     /s/ Amanda Seabock
27                                                Amanda Seabock
                                                  Attorney for Plaintiff
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                 Plaintiff’s Notice of Voluntary Dismissal With Prejudice Pursuant to
                              Federal Rule of Civil Procedure 41(a)(1)(A)(i)
